     Case 2:15-cv-05193-ES-JAD Document 3-5 Filed 07/08/15 Page 1 of 2 PageID: 52




                                 Exhibit D




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Case 2:15-cv-05193-ES-JAD Document 3-5 Filed 07/08/15 Page 2 of 2 PageID: 53



                   UNITED STATES COURT OF APPEALS
                       FOR THE SECOND CIRCUIT


                    CERTIFICATE OF GOOD STANDING




          I, CATHERINE O'HAGAN WOLFE, Clerk of the United States Court
    of Appeals for the Second Circuit,
          CERTIFY that ROY DEN HOLLANDER was admitted to practice
    in said Court on July gth, 2007 and is in good standing.




           Dated: December 10,2014        CATHERINE O'HAGAN WOLFE
                                                   New York, New York
                                                        Clerk of Court


                                                By:   Jlwin fJJ~fuj    II""
                                                               Kevin Brofsky
                                                                Deputy Clerk
